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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 R. ALEXANDER ACOSTA,                          )
 SECRETARY OF LABOR, et al.                    )
                                               )
          Plaintiffs,                          )
                                               )
          v.                                   )       CIVIL NO. 09-988 (WB/ETH)
                                               )
 JOHN J. KORESKO, et al.,                      )
                                               )
          Defendants.                          )

 PLAN SPONSORS’ REPLY MEMORANDUM IN SUPPORT OF ATTORNEYS’ FEES

        Undersigned counsel, on behalf of Cavaliere Professional PC; Crandall Investments, Inc.;

James M. LaRose, D.O. & Associates; Omni Management and Consultants Unlimited, Inc.;

Brigham City Arthritis Clinic; John Roland Enterprises, Inc.; FBSS f/b/p Joanna Roland; and

Perfume Center of America, Inc. (collectively, the “Plan Sponsors”) submit this reply in response

to Wilmington Trust’s Response In Opposition to Plan Sponsors’ Motion for Attorney’s Fees

(Dkt. #1874).

                                  MEMORANDUM OF LAW

        I.       AN ACTION EXISTS UNDER ERISA

        Section 502(g)(1) of ERISA authorizes attorney fees in “any action under this title.” 29

U.S.C. § 1132(g)(1) (emphasis added). Wilmington argues that, because no ERISA action has

been brought specifically against Wilmington by Plan Sponsors, no attorney fees can be

awarded. (Dkt. 1874, at 2). But that is not what the plain language of the statute permits. Section

502(g)(1) only requires that the motion for fees be brought within the context of any action under

ERISA. There is no dispute that the underlying action in this case is one governed by ERISA.

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See Perez v. Koresko, 86 F. Supp. 3d 293, 373 (E.D. Pa. 2015). Wilmington is thus a court-

appointed trustee in an ERISA action and has acted in a way that has damaged participants in

that ERISA action. Attorney fees in this instance are therefore appropriate and Wilmington’s

efforts to evade accountability should be rejected.

        II.     PLAN SPONSORS HAVE SHOWN SUCCESS ON THE MERITS

        Wilmington next argues that Plan Sponsors have not achieved success on the merits.

(Dkt. #1874, at 4) because the victory of Plan Sponsors was only a “procedural” victory.

Wilmington cites to an unpublished decision from the Southern District of Alabama in support of

its argument. (See Dkt. #1874, at 4 (citing Olds v. Ret. Plan of Int'l Paper Co., No. CIV.A. 09-

0192-WS-N, 2011 WL 2160264 (S.D. Ala. June 1, 2011)). A careful review of this case reveals

that it supports the position of Plan Sponsors—not the position of Wilmington. In Olds, the court

considered whether a procedural remand was “success on the merits.” Olds, 2011 WL 2160264,

at *2. The court noted the distinction between procedural “victories” and procedural “remedies.”

Procedural victories do not ultimately impact the outcome of the claims, but procedural remedies

“follow a substantive victory, which victory necessarily reflects some degree on the merits of the

litigated claim.” Id. Substantive victories justify an award of attorney fees. Id. at *5.

        Here, Wilmington unilaterally misused $4.6 million of trust assets and attempted to

collect even more for inappropriate tax withholdings. Plan Sponsors opposed these efforts and

correctly argued that proper administration of plan assets involved the issuance of Forms 1099-

MISC and no withholding. The court agreed, ordering Wilmington to return the withheld funds,

directing Wilmington to issue Forms 1099-MISC to the appropriate persons, and prohibited

Wilmington from engaging in further withholding. This was not a purely procedural victory. It

was instead a remedy which prevented the potential misappropriation by Wilmington of millions

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of dollars in funds that rightfully belong to the Trust participants and beneficiaries. And, under

the case cited by Wilmington, such a procedural remedy supports a fee award to Plan Sponsors.

        No additional finding by this court was necessary in order for Plan Sponsors to achieve

“success on the merits.” Moreover, ERISA case law has repeatedly stated that a party does not

need to be a “prevailing party” in order to be awarded attorney fees. See Hardt v. Reliance

Standard Life Ins. Co., 560 U.S. 252, 254 (2010); Templin v. Indep. Blue Cross, 785 F.3d 861,

865 (3d Cir. 2015). A formal court order is not even necessary. See Ruckelshaus v. Sierra Club,

463 U.S. 680, 687 n.8 (1983). Instead, once a party has demonstrated it has been even partially

successful, a court weighs five factors to determine whether attorney fees are appropriate: (1)

“the offending parties’ culpability or bad faith”; (2) “the ability of the offending parties to satisfy

an award of attorney’s fees”; (3) “the deterrent effect of an award of attorney’s fees”; (4) “the

benefit conferred upon members of the pension plan as a whole”; and (5) “the relative merits of

the parties’ positions.” See Templin v. Indep. Blue Cross, 785 F.3d 861, 867 (3d Cir. 2015).

        Plan Sponsors now address each factor and Wilmington’s arguments in relation thereto.

                III.   THE FACTORS IN THIS CASES JUSTIFY ATTORNEY FEES

    a. Wilmington’s Culpability or Bad Faith

        “A party is culpable if it is ‘blamable; censureable or at fault.’” Templin, 785 F.3d at 867

(alterations omitted) (quoting McPherson v. Employees’ Pension Plan of American Re-Insurance

Co., 33 F.3d 253, 257 (3d Cir. 1994)). Wilmington claims that “at all times Wilmington Trust

has endured to follow the directions of Court and the requirements of applicable law.” (Dkt.

#1874, at 5). As detailed in Plan Sponsors’ earlier brief, however, the record shows otherwise.

(See Dkt. #1869, at 3–4). Wilmington repeatedly failed to seek appropriate tax guidance; it acted

unilaterally and without requesting Court permission or participant or beneficiary input. As a

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result, Wilmington put large sums of money it held for the benefit of participants at risk of

potential and unnecessary forfeiture, participants on whose behalf Wilmington had been

appointed to act and protect.

    b. Wilmington’s Ability To Satisfy An Award

        Wilmington fails to address this factor in its response. Plan Sponsors therefore rely on

their arguments in connection with this factor from its opening brief. (See Dkt. #1869, at 4).

Given the publicly available information regarding the financial health and stability of

Wilmington, Plan Sponsors believe it would be disingenuous for Wilmington to argue that it

does not have the ability to pay the attorney fees incurred by Plan Sponsors due to Wilmington’s

own misapplication of tax law.1 See also Monkelis v. Mobay Chem., 827 F.2d 935, 937 (3d Cir.

1987) (“We cannot conclude that Monkelis lacks the ability to satisfy the fee award since

Monkelis has never argued that he is unable to satisfy [the] claim . . . .”).

    c. Deterrent Effect

        Wilmington argues that fees will have “no deterrent effect, as Wilmington Trust has acted

diligently and in its best ability to comply with the directions of the Court and applicable law at

all times.” (Dkt. #1874, at 6). Plan Sponsors dispute Wilmington’s claims with regards to its

diligence. Failing to seek IRS guidance, then effectively forgetting about the issue until after

distributions began is not “diligent,” much less “prudent.” But even if Wilmington’s statement

were to have some merit, in determining this factor the Court is required not only to consider the

likelihood a fee award would deter Wilmington from committing bad behavior in the future, but



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  For example, according to its website, Wilmington is a wholly-owned subsidiary of M&T Bank. See
https://www.wilmingtontrust.com/wtcom/index.jsp?section=About. M&T Bank’s most recent Form 10-Q, filed with
the SEC on August 5, 2019, reports that as of June 30, 2019, M&T has over $121 billion in assets and more than
$1.56 billion in income for the second quarter ending June 30, 2019. Available at https://ir.mandtbank.com/static-
files/acbfdd25-5462-4d44-ac14-097ba9e93f10.
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“whether an award of attorneys’ fees . . . would deter other persons acting under similar

circumstances.” Hardt, 560 U.S. at 249 n.1. An award of attorney fees in this case will put other

court-appointed trustees on notice that nothing except for careful and deliberate treatment of plan

assets will be tolerated. An award of attorney fees in this instance will act as a reminder to any

court-appointed trustee that it is not justified in withholding plan assets to offset potential tax

liability without obtaining the appropriate IRS or court guidance before, rather than after, plan

assets are withheld.

    d. Benefit Conferred Upon Members of the Trust

        Wilmington argues that no benefit has been conferred upon members of “the Trust as a

whole, as most members have not been involved in these proceedings.” (Dkt. #1874, at 6). This

argument misses the mark. It is precisely because most members of the Trust have not had the

capacity or ability to participate in the proceedings that Plan Sponsors should be awarded

attorney fees for taking action on their behalf. The objections raised by Plan Sponsors did not

benefit only Plan Sponsors. Instead, Plan Sponsors’ objection relating to proper tax reporting and

the return of plan assets benefitted all members of the Trust. Plan Sponsors undertook its motion

and pursued an argument for which they will now bear the burden alone, even though all

members of the Trust are now better off, unless Wilmington is properly held accountable for its

serious mistakes.

        Wilmington seeks to diminish the gravity of its misdeeds by claiming it has made no

“profit” from its role as a court-appointed fiduciary. Wilmington may not have put Trust assets in

its pocket, but its conduct was clearly intended to allow Wilmington to avoid imagined IRS

penalties at the expense of plan participants and beneficiaries. Wilmington’s employment as a

court-appointed trustee, and the resulting fees it has been awarded from assets of the Trust, are

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certainly benefits to Wilmington that should also be taken into account in equitably restoring

Plan Sponsors. It is entirely appropriate for Plan Sponsors to expect that a portion of the fees

paid to Wilmington for its administration of plan assets be used to cover the expenses Plan

Sponsors incurred to make sure that Wilmington was not permitted to go forward with a

distribution plan that would have resulted in severe and completely unnecessary tax

consequences for a significant number of members of the Trust. As has been made obvious, the

only reason Wilmington engaged in withholding was to benefit itself, regardless of the adverse

impact on the Trust participants whose interests Wilmington had been appointed to protect.

Wilmington should not now be rewarded for such behavior by further avoiding reimbursement of

the Plan Sponsors’ legal expenses incurred in thwarting its self-serving conduct.

    e. Relative Merits of Parties’ Position

        Wilmington asserts that because “no findings have been made regarding the relative

merits of the parties’ positions” no attorney fees can be awarded. Findings specifically decrying

Wilmington’s position, however, are not a requirement for attorney fees. See McPherson, 33

F.3d at 258 (“[W]e believe there will be cases in which the relative merits of the positions of the

parties will support an award even in the absence of bad faith litigating.”). Here, the merits of

Plan Sponsors’ arguments in favor of issuance of Forms 1099-MISC and against the continued

withholding by Wilmington were necessarily and implicitly deemed to outweigh the merits of

the arguments made by Wilmington in favor such withholdings when this Court ordered the

issuance of Forms 1099-MISC, the refund of previous withholdings, and further ended all future

withholdings by Wilmington. A specific finding by this Court against Wilmington is not required

in order to grant Plan Sponsors relief in the form of compensation for the fees spent in making

their arguments against improper withholding.

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                                         CONCLUSION

        For the foregoing reasons, Plan Sponsors request that the Court grant Plan Sponsors’

request for attorneys’ fees and award attorneys’ fees in the amount of $18,754 plus any

additional fees incurred in bringing their motion and this reply.

                                                             Respectfully submitted,

                                                             /s/ W. Waldan Lloyd
                                                             W. Waldan Lloyd
                                                             DURHAM JONES & PINEGAR
                                                             111 S. Main Street, Suite 2400
                                                             Salt Lake City, UT 84111
                                                             Phone: (801) 297-1330
                                                             Fax: (801) 415-3500
                                                             Email: wwlloyd@djplaw.com




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                                CERTIFICATE OF SERVICE

          I certify that on September 23, 2019, I electronically filed the foregoing PLAN

 SPONSORS’ REPLY MEMORANDUM IN SUPPORT OF ATTORNEYS’ FEES with

 the Clerk of Court by using the CM/ECF system, which will provide notice and an

 electronic link to this document to all registered CM/ECF users.


                                                      /s/ W. Waldan Lloyd
                                                      W. Waldan Lloyd




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